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                                                                                           E-FILED
                                                        Wednesday, 09 December, 2020 08:39:11 AM
                                                                      Clerk, U.S. District Court, ILCD

                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE CENTRAL DISTRICT OF ILLINOIS
                               PEORIA DIVISION

 ALEXANDER CHAIKIN,

                     Plaintiff,

         vs.                                           Case No. 18-cv-1208

 THE METHODIST MEDICAL CENTER
 OF ILLINOIS,

                     Defendant.

                          Motion for Discovery Hearing

   NOW COMES the Defendant, THE METHODIST MEDICAL CENTER OF

ILLINOIS, by its attorneys, QUINN JOHNSTON, and for its Motion for Discovery

Hearing, states:

   1. On December 8, 2020, Plaintiff took the deposition of Dr. Keith Knepp. Counsel

for the Defendant terminated the deposition to seek guidance from the court regarding

the conduct of the deposition. See, Redwood v. Dobson, 476 F.3d 462, 467–68 (7th Cir.

2007).

   2. Counsel respectfully asks that the Court hold a brief telephone hearing and set a

briefing schedule for a motion for protective order.

   WHEREFORE, the Defendant, THE METHODIST MEDICAL CENTER OF

ILLINOIS, respectfully prays the Court to schedule a telephone status hearing

regarding depositions and set a schedule for filing and briefing a Motion for Protective

Order and for such other and further relief as the Court deems just.
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                                             THE METHODIST MEDICAL CENTER OF
                                             ILLINOIS, Defendant


                                       By:     s/Peter R. Jennetten
                                               QUINN JOHNSTON


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                              CERTIFICATE OF SERVICE

I hereby certify that on December 9, 2020, I electronically filed this Motion for Discovery
Hearing with the Clerk of Court using the CM/ECF system, which will send
notification of such filing to the following:

    Christopher V. Langone
    Langonelaw@gmail.com


    Mark T. Lavery
    laverylawyer@gmail.com



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